 Case 1:22-cv-01320-MN Document 31 Filed 05/29/24 Page 1 of 1 PageID #: 138




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

NETWORK-1 TECHNOLOGIES, INC.,

       Plaintiff,

       v.                                          C.A. No. 22-cv-1320-MN

HONEYWELL INTERNATIONAL INC.,

       Defendant.


                            STIPULATION TO EXTEND TIME

       The parties hereby agree, subject to the approval of the Court, that the deadline for

Plaintiff to file the Amended Complaint is extended to June 6, 2024.

Dated: May 29, 2024                               Respectfully submitted,

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IT IS SO ORDERED this ______ day of May, 2024.



                                      ______________________________________
                                            The Honorable Maryellen Noreika
